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ROBIN PHELAN, CHAPTER 11 TRUSTEE


                          UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


IN RE:                                           §              Case No. 18-30264-SGJ-11
                                                 §              Case No. 18-30265-SGJ-11
ACIS CAPITAL MANAGEMENT, L.P.,                   §
ACIS CAPITAL MANAGEMENT GP,                      §              (Jointly Administered Under
LLC,                                             §              Case No. 18-30264-SGJ-11)
                                                 §
        DEBTORS                                  §              Chapter 11
                                                 §

ROBIN PHELAN, CHAPTER 11                         §
TRUSTEE,                                         §
                                                 §
        PLAINTIFF                                §              Adversary No. 18-03212-sgj
                                                 §
v.                                               §
                                                 §
HIGHLAND CAPITAL MANAGEMENT,                     §
LP, ET AL.,                                      §
                                                 §
        DEFENDANTS                               §
                                                 §




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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

IN RE:                                    §     Case No. 18-30264-SGJ-11
                                          §     Case No. 18-30265-SGJ-11
ACIS CAPITAL MANAGEMENT, L.P.,            §
ACIS CAPITAL MANAGEMENT GP,               §     (Jointly Administered Under
LLC,                                      §     Case No. 18-30264-SGJ-11)
                                          §
            DEBTORS.                      §     Chapter 11
______________________________________________________________________________

HIGHLAND CAPITAL MANAGEMENT,              §
L.P. AND HIGHLAND CLO FUNDING             §
LTD.,                                     §
                                          §
            PLAINTIFFS,                   §     Adversary No. 18-03078-sgj
                                          §
v.                                        §
                                          §
ROBIN PHELAN, CHAPTER 11                  §
TRUSTEE,                                  §
                                          §
            DEFENDANT.                    §
______________________________________________________________________________

ROBIN PHELAN, CHAPTER 11         §
TRUSTEE,                         §
                                 §
         THIRD-PARTY PLAINTIFF,  §
                                 §
v.                               §
                                 §
HIGHLAND HCF ADVISOR, LTD.,      §
HIGHLAND CLO MANAGEMENT, LTD.,   §
AND HIGHLAND CLO HOLDINGS, LTD., §
                                 §
         THIRD-PARTY DEFENDANTS. §

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     MOTION TO CONSOLIDATE ADVERSARY CASE NOS. 18-03078 & 18-03212

TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY
JUDGE:

        Robin Phelan, the Chapter 11 Trustee (the "Trustee") for Acis Capital Management, L.P.

("Acis LP") and Acis Capital Management GP, LLC ("Acis GP", with Acis LP, "Debtors"), files

this Motion To Consolidate Adversary Case Nos. 18-03078 & 18-03212 (the “Motion”) pursuant

to Federal Rule of Civil Procedure 42(a), made applicable herein by Federal Rule of Bankruptcy

Procedure 7042.

                                   I.      BRIEF SUMMARY

        1.     The Trustee requests that this Court consolidate Adversary Case No. 18-03078

and Adversary Case No. 18-03212 (collectively, the "Adversary Cases") pursuant to Federal

Rule of Civil Procedure 42(a), made applicable herein by Federal Rule of Bankruptcy Procedure

7042.

                          II.     ARGUMENT AND AUTHORITIES

A.      Applicable Legal Standard

        2.     Under Federal Rule of Civil Procedure 42(a), made applicable herein by Federal

Rule of Bankruptcy Procedure 7042, if actions before the court involve a common question of

law or fact, the court may: (1) join for hearing or trial any or all matters at issue in the actions;

(2) consolidate the actions; or (3) issue any other orders to avoid unnecessary cost or delay. Fed.

R. Civ. P. 42. Rule 42(a) is used to promote judicial efficiency and eliminate unnecessary

confusion. See Miller v. United States Postal Serv., 729 F.2d 1033, 1036 (5th Cir. 1984). The

court has broad discretion in determining whether consolidation is appropriate. See Mills v.

Beech Aircraft Corp., 886 F.2d 758, 761-62 (5th Cir. 1989).




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          3.    In evaluating whether consolidation is proper, courts consider whether: "(1) the

cases proposed for consolidation are pending either before the same court for all purposes or

before two different courts within the same judicial district; (2) the cases involve a common

party; (3) there are common questions of law; (4) there are common questions of fact; (5) there is

no risk of prejudice or possible confusion if the cases are consolidated, or if there is any risk, it is

outweighed by the risk of inconsistent adjudications of factual and legal issues if the cases are

tried separately; (6) consolidation will not result in an unfair advantage; (7) consolidation will

conserve judicial resources; (8) consolidation will reduce the time for resolving the cases when

compared to separate trials; and (9) consolidation will reduce the expense of trying the cases

separately." Mayfield v. Am. Auto Ins. Co., 2003 U.S. Dist. LEXIS 28562 (N.D. Tex. May 27,

2003)(citing Frazier v. Garrison I.S.D., 980 F.2d 1514, 1532 (5th Cir. 1993); St. Bernard Gen.

Hosp. v. Hosp. Serv. Ass'n of New Orleans, Inc., 712 F.2d 978, 989-90 (5th Cir. 1983); Debruyne

v. Nat'l Semiconductor Corp. (In re Repetitive Stress Injury Litigation), 11 F.3d 368,373-74 (2nd

Cir. 1993); and Hendrix v. Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495-96 (11th Cir.

1985)).

B.        The Consolidation Factors Support Consolidation

          4.    All of the factors above support consolidation of the Adversary Cases: (1) the

Adversary Cases proposed for consolidation are pending before this Court; (2) the Adversary

Cases involve common parties, including the Trustee, Highland, and HCLOF; (3) there are

common questions of fact and are potentially common questions of law; (4) the risk of prejudice

or possible confusion if the Adversary Cases are consolidated is outweighed by the risk of

inconsistent adjudications of factual and legal issues if the cases are tried separately;

(5) consolidation will not result in an unfair advantage; (6) consolidation will conserve judicial

resources; (7) consolidation will reduce the time for resolving the Adversary Cases; and

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(8) consolidation will reduce the expense of trying the Adversary Cases separately. The Trustee

has also agreed that the consolidation of the Adversary Cases shall not prejudice the rights of any

party, including related to any pending motion, and the proposed order granting consolidation so

provides.

       5.      The Trustee proposes that Adversary Case No. 18-03212 be consolidated into

Adversary Case No. 18-03078, and that the Scheduling Order entered in Adversary Case No. 18-

03212 [Dkt # 57] be dissolved, with all scheduling being addressed in the consolidated action.

                                         III.   PRAYER

       The Trustee respectfully requests that this Court: (i) grant the relief requested in this

Motion by consolidating the Adversary Cases; and (ii) grant him such other and further relief to

which it may be justly entitled, both at law and in equity.

Dated: February 5, 2019

                                                      Respectfully submitted,

                                                      By: /s/ Phillip Lamberson
                                                      Rakhee V. Patel - State Bar No. 00797213
                                                      Phillip Lamberson - State Bar No. 00794134
                                                      Joe Wielebinski - State Bar No. 21432400
                                                      Annmarie Chiarello - State Bar No.
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                                                      SPECIAL COUNSEL FOR ROBIN
                                                      PHELAN, CHAPTER 11 TRUSTEE

                                                      -and-

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                                                     J. Robert Forshey - State Bar No. 07264200
                                                     Suzanne K. Rosen - State Bar No. 00798518
                                                     Matthias Kleinsasser - State Bar No.
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                                                     mkleinsasser@forsheyprostok.com

                                                     COUNSEL FOR THE CHAPTER 11
                                                     TRUSTEE



                                CERTIFICATE OF SERVICE

        I hereby certify that on February 5, 2019, notice of this document will be electronically
mailed to the parties that are registered or otherwise entitled to receive electronic notices in the
above-referenced adversary proceedings pursuant to the Electronic Filing Procedures in this
District.



                                                     /s/Phillip Lamberson
                                                     One of Counsel




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                                 CERTIFICATE OF CONFERENCE

        I hereby certify that counsel for the Trustee contacted counsel for Highland Capital
Management, L.P. ("Highland"), Highland CLO Funding, Ltd. ("HCLOF"), the Issuers and
Co-Issuers,1 Highland HCF Advisor, Ltd. ("Highland Advisor"), and Highland CLO
Management, Ltd. ("Highland CLOM,") regarding the relief sought in this Motion. Counsel for
Highland, HCLOF, Highland CLOM and Highland Advisor stated that they do not contest
consolidation of the Adversary Cases as sought in this Motion, and counsel for the Trustee has
circulated an agreed order to them that, once finalized, will be submitted to the Court. Counsel
for the Issuers and Co-Issuers had not responded at the time this Motion was filed.



                                                           /s/Phillip Lamberson
                                                           One of Counsel




1
    Acis CLO 2014-3 Ltd. ("CLO-3"), Acis CLO 2014-4 Ltd. ("CLO-4"), Acis CLO 2014-5 Ltd. ("CLO-5"), Acis
    CLO 2015-6 Ltd. ("CLO-6," and together with CLO-1, CLO-3, CLO-4, and CLO-5, the "Issuers"), Acis CLO
    2014-3 LLC ("CLO-3 LLC"), Acis CLO 2014-4 LLC ("CLO-4 LLC"), Acis CLO 2014-5 LLC ("CLO-5 LLC"),
    Acis CLO 2015-6 LLC ("CLO-6 LLC," and together with CLO-1 LLC, CLO-3 LLC, CLO-4 LLC, and CLO-5
    LLC, the "Co-Issuers").


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